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13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
15
16
     SANDRA MARY WILSON,                      )
                                              )   No. 2:19-cv-07948-AS
17         Plaintiff,                         )
18                                            )   [PROPOSED]
                  v.                          )   ORDER AWARDING EQUAL
19
                                              )   ACCESS TO JUSTICE ACT
20   ANDREW SAUL,                             )   ATTORNEY FEES AND
     Commissioner of Social Security,         )   EXPENSES, PURSUANT TO 28
21
                                              )   U.S.C. § 2412(d), AND COSTS
22         Defendant.                         )   PURSUANT TO 28 U.S.C. § 1920
23                                            )
24         Based upon the parties’ Stipulation for the Award and Payment of Equal
25   Access to Justice Act Fees, Costs, and Expenses, IT IS ORDERED that fees and
26   expenses in the amount of $7,000.00 as authorized by 28 U.S.C. § 2412 AND $400
27   as authorized by 28 U.S.C. § 1920 to be paid separately from the Judgement Fund,
28   be awarded subject to the terms of the Stipulation.
     DATED: November 6, 2020                               /s/
                                            HON. ALKA SAGAR
                                            UNITED STATES MAGISTRATE JUDGE
